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                                                              United States District Court
                                                                Southern District of Texas

                                                                   ENTERED
                                                                February 13, 2017
                                                                David J. Bradley, Clerk
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